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Detention Order Pending Trial

                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF MICHIGAN
                                          NORTHERN DIVISION

UNITED STATES OF AMERICA
                                                                  Case No: 12-20640-02
v.

ROBERT MARTIN MORRIS,

         Defendant.
                                            /

                                    DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. §

3142(f), I conclude that these facts require that Defendant Robert Martin Morris be

detained pending trial.



Part I - Findings of Fact

A.       Motion to Detain (18 U.S.C. §§ 3142(a) and 3142(f)(1))

XX       (1)       The Government moved for detention at Defendant’s first appearance

pursuant           to:

                   XX           18 U.S.C. § 3142(f)(1).

                   __           18 U.S.C. § 3142(f)(2).

__       (2)       A detention hearing was held on this judicial officer’s motion pursuant to 18

                   U.S.C. § 3142(f)(2). See part D for findings.

B.       Rebuttable Presumption – Defendant on Release Pending Trial (18 U.S.C.

§3142(e)(2))

__       (1)       Defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1),
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                and has previously been convicted of a crime listed in 18 U.S.C. § 3142(f)(1),

                or comparable state or local offense.

__      (2)     The offense described in finding was committed while Defendant was on

                release pending trial for a federal, state or local offense.

__      (3)     A period of less than five years has elapsed since

        __      the date of conviction, or

        __      Defendant’s release from prison for the offense described in finding (B)(1).

__      (4)     Findings (B)(1), (2) and (3) establish a rebuttable presumption that no

                condition or combination of conditions will reasonably assure the safety of

                another person or the community.

C.      Rebuttable Presumption – Probable Cause (18 U.S.C. § 3142(e)(3))

There is probable cause to believe that Defendant has committed an offense:

        XX      for which a maximum prison term of ten years or more is prescribed in the

                Controlled Substances Act1, or

        __      under 18 U.S.C. § 924(c), 18 U.S.C. § 956(a) or 18 U.S.C. § 2332b, or

        __      listed in 18 U.S.C. § 2332b(g)(5) (federal crimes of terrorism) for which the

                prison term is 10 or more years, or

        __      listed in 18 U.S.C. §§ 1581-1594 (slavery or trafficking in persons), or

        __      involving a minor victim listed in 18 U.S.C. § 3142(e)(3)(E).

        __      the probable cause findings above establish a rebuttable presumption that

no


        1
         Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances
Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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             condition or combination of conditions will reasonably assure the safety of

             another person or the community.

D.     Findings Pursuant to 18 U.S.C. § 3142(f)(2)

__     (1)   There is a serious risk that Defendant will not appear.

__     (2)   There is a serious risk that Defendant will endanger the safety of another

             person or the community.



Part II - Statement of the Reasons for Detention

I find that the testimony and information submitted at the detention hearing establishes:

__     by clear and convincing evidence that, for the reasons set forth below, there is no

       condition or combination of conditions which will reasonably assure the safety of

       the community; or

__     by a preponderance of the evidence that, for the reasons set forth below, there is

       no condition or combination of conditions which will reasonably assure Defendant’s

       appearance; or

XX     both of the above.

Statement of reasons for detention pursuant to 42 U.S.C. § 3142(I):

       Having concluded that the Government timely moved for detention pursuant to 18

U.S.C. § 3142(a) in a case described in 18 U.S.C. § 3142(f), and that a rebuttable

presumption in favor of detention applies in this case, the Court must consider whether

there is sufficient evidence on the record to rebut the presumption under the factors set

forth in section 3142(g).

       As to the factors set forth in subsections (g)(1) and (g)(2), I find that the offense
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charged involves narcotic drugs, specifically cocaine. I find, from the grand jury having

returned an indictment, that there is a definite weight of evidence, at least rising to the

level of probable cause, supporting the charges against Defendant.

      As to subsection 3142(g)(3), I find that Defendant is 45 years of age and is

divorced. He has been living with a girlfriend at an address in Bay City, Michigan, for

approximately the last six months, and has resided at various addresses in the Bay City

area for at least the past 15 years. Defendant has worked as a line cook at various

restaurants in the Bay City area for some years. Defendant conceded to Pretrial Services

that he has used marijuana and Vicodin, apparently without a prescription. Preliminary

drug screening was positive for both marijuana and opiates.

      At age 17, Defendant pleaded guilty to felony breaking and entering. The next year

he pleaded guilty to misdemeanor larceny. Two years later, Defendant pleaded guilty to

a second felony breaking and entering. Six years later, at age 25, Defendant pleaded

guilty to reckless driving, driving while intoxicated, disobeying a police order and driving

while license suspended. He was sentenced to one year in jail. Three years later,

Defendant pleaded guilty to felony delivery and manufacture of controlled substances and

was sentenced to 32 to 48 months in prison. Defendant ultimately was paroled and

discharged from that parole. A year and a half later, Defendant pleaded guilty to a felony

offense relating to telephone services. He was sentenced to 12 to 48 months in prison,

which may have run concurrently with the sentence described earlier. More importantly,

while on parole in September 2001, Defendant was charged and pleaded guilty to driving

while intoxicated. Nine months later, while still on parole, Defendant was charged and

pleaded guilty to misdemeanor controlled substances, use of marijuana, and driving with

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a suspended license.

      In September 2006, Defendant was charged and pleaded guilty to another felony

controlled substances offense, possession of cocaine under 25 grams. Very likely while

on bond from that charge, he was also charged and pleaded guilty to misdemeanor

operating without a license. The 2006 felony controlled substances charge yielded a

probationary sentence of 36 months. In September 2009, while on probation, Defendant

pleaded guilty to misdemeanor traffic offenses, and, in April 2010, was charged and

pleaded guilty to misdemeanor operating while intoxicated, second offense, and driving

with license suspended, second offense. The Assistant United States Attorney also

proffers that Defendant failed to appear in October 2011 and twice in August 2012.

      To Defendant’s credit, he and his counsel have endeavored to find alternative living

arrangements for Defendant that would not cause him to reside with any of the co-

defendants or others involved in the incidents that underlie the charges made in the

Indictment. Counsel for Defendant also correctly points out that many of Defendant’s

convictions are dated and indeed some occurred more than 20 years ago while

Defendant was a juvenile. Had Defendant’s criminal history ended at that point, counsel’s

arguments in favor of bond would have considerably greater force. However, Defendant

has a history of continued criminal activity while on parole and supervision on charges

involving penalties much less severe than those he now faces. Moreover, Defendant’s

criminal history indicates a continued pattern of a drug dealing. Several circuits and

numerous district courts have held that continued drug dealing constitutes a danger to the

community. See, e.g., United States v. Hare, 873 F.2d 796, 798 (5th Cir. 1989)

(“continued drug dealing does constitute a danger and threat to the community, and that

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fact alone justifies detention”); United States v. Portes, 786 F.2d 758, 765 (7th Cir. 1986);

United States v. Sazenski, 806 F.2d 846, 848 (8th Cir. 1986); United States v. Leon, 766

F.2d 77, 81 (2d Cir. 1985); United States v. Williams (Melvin), 753 F.2d 329, 335 (4th Cir.

1985); United States v. Kelley, No. 08-40011-01-RDR, 2008 WL 821951, at *2-*3 (D. Kan.

Mar. 26, 2008); United States v. Rivera-Febres, No. 07-054(DRD), 2007 WL 4287515,

at *4 (D.P.R. Dec. 4, 2007); United States v. Caniglia, No. 02-188-01, 2002 WL

32351181, at *5 (E.D. Pa. Apr. 9, 2002).

      In light of Defendant’s failure to abide by conditions of bond and parole, his failures

to appear for required hearings in matters much less severe than those which bring him

here, and his continued use and distribution of illegal controlled substances, I conclude

that the presumption in favor of detention has not been rebutted on the on the evidence

presented. I further conclude that, even if it had, under the circumstances I am unable to

craft any conditions of bond which would reasonably assure the safety of the community

or Defendant’s appearance as required for future hearings. Accordingly, the

Government’s motion to detain will be GRANTED.



Part III - Directions Regarding Detention

      Defendant is committed to the custody of the Attorney General or a designated

representative for confinement in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences or held in custody pending appeal. Defendant

must be afforded a reasonable opportunity to consult privately with defense counsel. On

order of United States Court or on request of an attorney for the Government, the person

in charge of the corrections facility must deliver Defendant to the United States Marshal

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for a court appearance.

      Review of this order is governed by 18 U.S.C. § 3145 and E.D. Mich. L.R. 57.2.




                                               s/     C
                                                     harles`EB       inder
                                              CHARLES E. BINDER
Dated: October 17, 2012                       United States Magistrate Judge




                                   CERTIFICATION

      I hereby certify that this Order was electronically filed this date, electronically
served on Libby Dill and Elias Escobedo, and served on Pretrial Services and the U.S.
Marshal’s Service in the traditional manner.

Date: October 17, 2012                By    s/Jean L. Broucek
                                      Case Manager to Magistrate Judge Binder




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